      Case 20-63873-sms           Doc 5 Filed 03/05/20 Entered 03/05/20 07:57:49                     Desc New
                                   Petition Deficiency Order Page 1 of 1
                    UNITED STATES BANKRUPTCY COURT, Northern District of Georgia
                                          Atlanta Division
                                    1340 United States Courthouse
                                      75 Ted Turner Drive SW
                                         Atlanta, GA 30303
                                       www.ganb.uscourts.gov
In
Re:    Fateen Anthony Bullock                               Case No.: 20−63873−sms
                                                            Chapter: 13
                                                            Judge: Sage M. Sigler

                      ORDER SETTING DEADLINES FOR DEBTOR TO CORRECT
                                  FILING DEFICIENCY(IES)
The Debtor filed a petition under the United States Bankruptcy Code on 3/3/20 . This case contains one or more filing
deficiencies that must be corrected. Deficiencies in the items listed below may include failure to file the document, failure
to sign the document or failure to submit the document on a form that substantially conforms to the Official Bankruptcy
Form. Links to all required Official Bankruptcy Forms and AO Director's national forms and to local rules, forms,
instructions and guidelines are on the court website www.ganb.uscourts.gov.

To be filed by 03/10/20
None Apply

To be Filed by 03/17/20
Schedule E/F (Official Form B106E/F)
Schedule G (Official Form B106G)
Schedule H (Official Form B106H)
Schedule I (Official Form B106I)
Schedule J (Official Form B106J)
Summary of Assets and Liabilities (Official Form B106 Summary)
Declaration About Debtor's Schedules (Official Form B106)
Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period (Form
B122 C−1) and, if applicable, Chapter 13 Calculation of Your Disposable Income (Form B122 C−2)
Certificate of Credit Counseling
Pay Advices: (A) Copies of Pay Stubs (or other evidence of payment) received from any employer within
60 days prior to filing or alternatively (B) a Statement signed by the Debtor certifying within 60 days
prior to filing, the Debtor 1 did not receive pay stubs from any employer and was either Unemployed,
self−employed or other explanation.
Chapter 13 Plan, complete with signatures (to be served by debtor's counsel, if applicable)



To be filed by 04/02/20
None Apply


If, by the dates set forth above, i) the Debtor fails to file the required papers or correct the deficiencies; ii) no
request for an extension of time is pending; or iii) neither the debtor nor any party in interest has requested a
hearing thereon, the Court may dismiss this case without further notice or hearing.

The Clerk will serve this order on Debtor, Debtor's counsel, and Trustee.

SO ORDERED, on March 5, 2020.




Form 430b December 2018                                       Sage M. Sigler
                                                              United States Bankruptcy Judge
